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                              LINITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


 LINITED STATES OF AMERICA,
                                                                             zl-qz             ilaTlrntu
                           Plaintiffl                       INDICTMENT

           \I                                               21 U.s.c. $ 841(a)(1)
                                                            21 U.s.c. $ 841(bX1XA)
 ROBBIN ALLEN THOMAS,                                       21 U.S.C. $ 853

                           Defendant.



THE LTNITED STATES GRAND JIIRY CHARGES TIIAT:

                                            COTINT 1
                  (Possession with fntent To Distribute a Controlled Substance)

     '    On or about February l9,2021.,in the State and District ofMinnesota,the defendant,

                                   ROBBIN ALLEN THOMAS,

did knowingly and intentionally possess with intent to distribute a controlled substance,

specifically, 500 grams or more of a mixture and substance containing           a detectable    amount

of methamphetamine, in violation of        titte   21, United States Code, Sections Sa1(a)(1) and

841(bX1)(A).




          Count 1 of this lrdictrnent is hereby realleged and incorporated as if fully set forth

herein by reference, for the purpose of alleging forfeitures pursuant to Title 21, United

States Code, Section 853.

 ,       If convicted of Count     1, the defendant shall   forfeit to the United States, pursuant to

Ttt\e    2t, United    States Code, Section 853(a)(1) and (2), any property constituting, or

derived from, any proceeds obtained, directly or indirectly, as a result of such offense and

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                                                                                               U,S. DISTBICT COURT-ST PAUL
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any properly used, or intended to be used, in any manner or part, to commit, or to facilitate

the commission of that offense, including butnot limitedto aBersaBP9CC nine millimeter

handgun (serial # E58801) seized from the defendant's vehicle on or about February 19,

202t.

        If   any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute properly as provided for in Title

21, United States Code, Section 853(p).

                                         A TRUE BILL




ACTING UNITED STATES ATTORNEY                       FOREPERSON
